                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

 UNITED STATES OF AMERICA                       )
                                                )        Case No. 1:15-cr-91
 v.                                             )
                                                )        Judge Travis R. McDonough
 RYAN ROGERS                                    )
                                                )        Magistrate Judge Susan K. Lee
                                                )


                                             ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Counts One, Five, and Ten of the

 thirty-two-count Indictment; (2) accept Defendant’s plea of guilty to Counts One, Five, and Ten

 of the Indictment; (3) adjudicate Defendant guilty of the charges set forth in Counts One, Five,

 and Ten of the Indictment; (4) defer a decision on whether to accept the plea agreement until

 sentencing; and (5) order that Defendant remain in custody until sentencing in this matter.

 (Doc. 192.) Neither party filed a timely objection to the report and recommendation. After

 reviewing the record, the Court agrees with the magistrate judge’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 192) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Counts One, Five, and Ten

                of the Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to Counts One, Five, and Ten of the Indictment

                is ACCEPTED;




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       (3)   Defendant is hereby ADJUDGED guilty of the charges set forth in Counts One,

             Five, and Ten of the Indictment;

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which

             is scheduled to take place on August 12, 2016 at 9:00 a.m. [EASTERN] before

             the undersigned.


                                          /s/Travis R. McDonough
                                          TRAVIS R. MCDONOUGH
                                          UNITED STATES DISTRICT JUDGE




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